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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

CHERYL WEIMAR,

       Plaintiff,

v.                                                        Case No: 5:19-cv-548-Oc-CEMPRL

FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER and
RYAN DIONNE,

       Defendants.


                                           ORDER

       On December 12, 2019, the Court held a hearing on Plaintiff’s Motion to Permit Plaintiff’s

Representatives to Interview Inmate Witnesses (Doc. 55) and Defendant Florida Department of

Corrections’ Response in Opposition (Doc. 65). For reasons stated on the record, Plaintiff’s

Motion (Doc. 55) is DENIED without prejudice.

       IT IS SO ORDERED.

       DONE AND ORDERED at Ocala, Florida, this 13th day of December 2019.




Copies to: Pro Se Parties, Counsel of Record
